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EXHIBIT 2
Case 4:15-cv-00099-AWA-RJK Document 1-2 Filed 09/16/15 Page 2 of 3 PagelD# 8

IN THE WILLIAMSBURG/JAMES CITY COUNTY GENERAL DISTRICT COURT

VIRGINIA:

 

TAMARA H. BIZZELL
Plaintiff
Case No: GV15002130-00

VS.

PMAB, LLC

Defendant

a ee el

 

NOTICE OF FILING OF NOTICE OF REMOVAL
Attached hereto, please find a copy of the Notice of Removal, removing the above-
referenced matter to the United States District Court for the Eastern District of Virginia.

THE LAW OFFICES OF RONALD S. CANTER, LLC

Zoe Le

Bradley T. Cantes, Esquire

Bar #86766

200A Monroe Street, Suite 104
Rockville, Maryland 20850
Telephone: (301) 424-7490
Facsimile: (301) 424-7470
bcanter@roncanterllc.com
Attorney for Defendant
Case 4:15-cv-00099-AWA-RJK Document 1-2 Filed 09/16/15 Page 3 of 3 PagelD# 9

CERTIFICATE OF SERVICE
I hereby certify that a copy this Notice of Filing of Notice of Removal was served by

First Class Mail, postage prepaid on this 15th day of September, 2015 to:

Christopher C. North, Esq.

The Consumer & Employee Rights Law Firm, P.C.
751-A Thimble Shoals Blvd.

Newport News, Virginia 23606
cnorthlaw@aol.com

Attorney for Plaintiff

 

Bradley T. Canter, squire
Attorney for Defendant
